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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                Plaintiff,

       v.                                                     Civ. No. 1:20-cv-715

$26,100.00 UNITED STATES CURRENCY,
$12,000.00 UNITED STATES CURRENCY,

1958 CHEVROLET IMPALA VIN:58-1867,
1961 CHEVROLET IMPALA VIN:11867L160496,
1962 CHEVROLET IMPALA VIN:21747S139618,
1962 CHEVROLET IMPALA VIN:62-1847,
1963 CHEVROLET IMPALA VIN: CONTROL #136020,
2012 DODGE CHALLENGER VIN:2C3CDYBT8CH269939,

$2,428.00 UNITED STATES CURRENCY,
$1,056.00 UNITED STATES CURRENCY,
$1,760.00 UNITED STATES CURRENCY,

2015 DODGE CHALLENGER VIN:2C3CDZC99FH887901,
2018 GMC YUKON VIN:1GKS2CKJXJR269960,

                Defendants-in-rem.


                   VERIFIED COMPLAINT FOR FORFEITURE IN REM

       Plaintiff, United States of America, brings this complaint in accordance with

Supplemental Rule G(2) of the Supplemental Rules for Certain Admiralty or Maritime Claims

and Asset Forfeiture Actions, and alleges as follows:

                                     NATURE OF THE ACTION

       1.       This is a civil action to forfeit and condemn to the use and benefit of the United

States of America property involved in violations of the Controlled Substances Act and 18

U.S.C. § 1956 that is subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6) and 18 U.S.C. §

981(a)(1)(A).
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                                        DEFENDANT IN REM

        2.      The defendant in rem consists of the following:

                a.   $26,100.00 United States Currency,
                b.   $12,000.00 United States Currency,
                c.   1958 Chevrolet Impala VIN:58-1867,
                d.   1961 Chevrolet Impala VIN:11867L160496,
                e.   1962 Chevrolet Impala VIN:21747S139618,
                f.   1962 Chevrolet Impala VIN:62-1847,
                g.   1963 Chevrolet Impala VIN: CONTROL #136020,
                h.   2012 Dodge ChallengeVIN:2C3CDYBT8CH269939,
                i.   $2,428.00 United States Currency,
                j.   $1,056.00 United States Currency,
                k.   $1,760.00 United States Currency,
                l.   2015 Dodge Challenger VIN:2C3CDZC99FH887901,
                m.   2018 GMC Yukon VIN:1GKS2CKJXJR269960,

        (hereafter collectively referred to as “Defendant Property”).

        3.      The Defendant Property was seized by the Federal Bureau of Investigation on

January 29, 2020, in the District of New Mexico.

        4.      The Defendant Property is now, and during the pendency of this action will be, in

the jurisdiction of this Court.

                                     JURISDICTION AND VENUE

        5.      The United States District Court for the District of New Mexico has subject

matter jurisdiction under 28 U.S.C. §§ 1345, 1355(a) and 1356.

        6.      Venue for this civil forfeiture action is proper in this district pursuant to 28 U.S.C.

§§ 1355 and 1395, as acts or omissions giving rise to the forfeiture took place in this district and

the property is found in this district. Upon the filing of this complaint, the Defendant Currency

will be arrested by execution of a Warrant for Arrest In Rem in the District of New Mexico.




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                                              FACTS

       7.      In 2010, Francisco Navarro was convicted in the United States District Court for

the District of New Mexico of possession with intent to distribute cocaine in violation of 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(B). He was released from federal prison 2013. Following his

release, Navarro acquired cash, vehicles and real property. The value of these assets far exceeded

Navarro’s legitimate sources of income. Despite the lack of sufficient legitimate income,

Navarro gave two residences to Jennifer Sanchez, his sister-in-law, in February 2013.

       8.      The drastic change in finances between Navarro's 2013 release prison to present

led agents to believe Navarro was operating a large scale and successful drug trafficking

organization (DTO). Investigators believe Navarro’s DTO arose from contacts Navarro made

during his incarceration with members of the Mexican drug trafficking organizations (MDTO).

       9.      Navarro maintained a checking account with Bank of America, in the name of

Francisco J Navarro Sole Prop DBA Navarros Paint and Body. From October 2018 through

September 2019, Navarro made 25 cash deposits totaling $113,983 into the account.

       10.     Navarro began to purchase real property in 2016 using real estate contracts

(RECs). Navarro’s purchases included both residential houses and vacant lots. American Escrow

Co. (AEC), an Albuquerque Escrow company, serviced Navarro’s real estate contracts. AEC is

the only escrow company in Albuquerque that accepts cash payments on real estate contracts,

and until sometime in 2019, AEC did not require a person making payments to provide any

identification. RECs are an effective vehicle for laundering illegal drug proceeds. To conceal the

proceeds of drug trafficking, Navarro made cash payments to AEC. AEC then deposited the cash

in a financial institution and disbursed funds to the sellers on the RECs and to the county taxing

authority in the form of bank transfers or checks. Navarro's girlfriend, Brittney Gonzales, also



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purchased a residence on a REC and made cash payments to AEC. In 2018 and 2019, AEC

received a minimum of $317,000 in payments for Navarro’s real properties.

       11.      Navarro has maintained access, dominion, and control over all of his real

property, as evidenced by GPS pings on his cellular phone.

       12.      Investigation further revealed that the Navarro DTO is involved in bulk cash

smuggling of illegal drug proceeds within the U.S. and across the border into Mexico. In 2019,

five vehicles (two Honda Accords, two Buick Enclaves, and a Ford Transit Van) acquired by the

DTO were identified as having after market, hidden compartments or evidence of tampering to

access natural voids in the vehicles. Two of these vehicles were searched crossing into the U.S.

from Mexico with empty compartments, which indicates they were used to transport currency

into Mexico.

       13.      In October 2019, a Buick Enclave operated by the Navarro DTO was interdicted

in Texas. The Buick’s hidden compartments contained approximately $846,000.00 in U.S.

currency. The currency constituted the proceeds of illegal drug trafficking.

       14.      On January 29, 2020, agents executed multiple search warrants on Navarro’s

properties in Albuquerque, including the following:

       7512 Rainwater Road SW;

       4405/4409 Butler Lane SW,;

       9912 Bellevue Street;

       1105 Alexandra Street SW; and

       1939 San Ygnacio Road SW

       15.      At 7512 Rainwater SW, investigators recovered $26,100 in currency, body armor,

and a WASR-10 AK47 rifle and magazine in a bedroom and a money counter in a second



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bedroom. The currency was on a bed inside of a plastic grocery bag and was divided into three

separate bundles. Each bundle was wrapped with rubber bands and another rubber band held all

three bundles together. The currency consisted of multiple denominations primarily comprised of

100s and 20s.

       16.      7512 Rainwater SW was one of the locations Navarro purchased and has listed as

his address on many legal and financial documents, to include his driver’s license, RECs, loan

applications, and property taxes. Navarro’s mother, Candelaria Duran, arrived shortly after the

search began. Duran advised agents she is the resident there, and her two sons only come to visit

a couple of times a week. In addition to the items named above, Agents located multiple

documents, electronics, photos, VIN plates, a handgun, ammunition, equipment, marijuana, and

CBD within the residence. Duran said she did not own any firearms and did not know where the

marijuana and CBD came from. Duran said she does not have a medical marijuana card and does

not use. It appeared that Duran had a bedroom at this location that she actively occupied.

       17.      At 4405/4409 Butler Lane SW, agents discovered $12,000 in U.S. currency. The

bulk of the currency, $10,636, was concealed within the housing unit of a bathtub. The currency

was in a plastic grocery bag in multiple bundles, The bundles were wrapped with rubber bands.

The currency consisted of multiple denominations, primarily 20s. A money counter was

recovered in another room. The remainder of the currency was scattered through the residence.

Agents located marijuana, cell phones, a firearm, documents, and VIN plates, and discovered

classic cars in a detached garage, including a 1958 Chevrolet Impala, a 1961 Chevrolet Impala,

two 1962 Chevrolet Impalas and a 1963 Chevrolet Impala. Agents also located a 2012 Dodge

Challenger with a salvage title, registered to Francisco Navarro. Navarro acquired these vehicles

with the proceeds of illegal drug trafficking and funds involved in money laundering. Navarro



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caused the 1961 Chevrolet Impala to be registered in the name of his mother, Candelaria Duran.

The only title for the 1962 Chevrolet Impala with VIN 21747S139618 is a cancelled title in the

name of Efren Candelaria. Agents were unable to identify titles for the 1958 Chevrolet Impala,

the second 1962 Impala (VIN 62-1847), and the 1963 Impala. At no time material hereto did

Candelaria Duran exercise dominion or control over the vehicles. Additionally, it did not appear

that Duran actively occupied a bedroom at this location. Navarro had made improvements to the

property, including a concrete wall enclosing the property and numerous surveillance cameras.

       18.     At 9912 Bellevue Street NW, agents discovered $2,428 in U.S. currency in

Navarro’s wallet. Agents also located a 2018 GMC Yukon acquired by Navarro with the

proceeds of illegal drug trafficking and funds involved in money laundering. The Yukon is

registered to Francisco Navarro and Brittany Gonzales. Navarro and Gonzales purchased the

vehicle for approximately $76,900 in 2018, in part with financing from Capital One. Prior to the

seizure, Navarro and Gonzales made payments to the vehicle loan from the “Navarros Paint and

Body” Bank of America account, as well as Gonzales’ Wells Fargo bank account. In 2019,

Gonzales deposited $83,540 in cash into her Wells Fargo account. Investigators also recovered

numerous cell phones at this residence. Navarro and Gonzalez signed an REC to purchase 9912

Bellevue Street NW in 2018.

       19.     At 1105 Alexandra Street SW, agents discovered $1.056 in the wallet of

Raymond Gonzales. Gonzales is an active member of the DTO. Agents further located $1,760 in

U.S. currency in Brittany Gonzales’s purse. Brittany Gonzales is an active member of the DTO

and owns 1105 Alexander Street SW via a REC.

       20.     At 1939 San Ygnacio Road SW, agents located a 2015 Dodge Challenger.

Navarro owns the residence via a REC and rents out portions of it to several people, including a



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longtime associate. Navarro acquired the 2015 Dodge Challenger with proceeds of illegal drug

trafficking and funds involved in money laundering. Navarro purchased the vehicle for

approximately $72,700 in 2015, with financing from U.S. Eagle Federal Credit Union. Navarro

paid off the loan in 2018. According to U.S. Eagle, Navarro made all payments in cash. The

2015 Dodge Challenger was registered to Navarro, but the registration expired in 2016.

                                    FIRST CLAIM FOR RELIEF

       21.      The United States incorporates by reference the allegations in paragraphs 1

through 20 as though fully set forth.

       22.      Title 21, United States Code, Section 881(a)(6) subjects to forfeiture “[a]ll

moneys, negotiable instruments, securities, or other things of value furnished or intended to be

furnished by any person in exchange for a controlled substance or listed chemical in violation of

this subchapter, all proceeds traceable to such an exchange, and all moneys, negotiable

instruments, and securities used or intended to be used to facilitate any violation of this

subchapter.”

       23.      Defendant Property was furnished, or intended to be furnished, in exchange for a

controlled substance, or constitutes proceeds traceable to such an exchange, or was used or

intended to be used to facilitate a violation of the Controlled Substances Act and is thus subject

to forfeiture to the United States pursuant to 21 U.S.C. § 881(a)(6).




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                                   SECOND CLAIM FOR RELIEF

       24.     The United States incorporates by reference the allegations in paragraphs 1

through 20 as though fully set forth.

       25.     Title 18, United States Code, Section 981(a)(1)(A) subjects to forfeiture property

involved in a transaction or attempted transactions in violation of 18 U.S.C. § 1956 or property

traceable to such property.

       26.     The Defendant Property was involved in transactions or attempted transactions in

violation of 18 U.S.C. § 1956 or is traceable to such transactions and is thus subject to forfeiture

to the United States pursuant to 18 U.S.C. § 981(a)(1)(A).

       WHEREFORE: Plaintiff seeks arrest of Defendant Property and forfeiture of same to

Plaintiff, determination of the validity and priority of claims of the Claimants and any Unknown

Claimants to the Defendant Property, costs and expenses of seizure and of this proceeding, and

other proper relief.



                                                      Respectfully submitted,

                                                      JOHN C. ANDERSON
                                                      United States Attorney



                                                      STEPHEN R. KOTZ
                                                      Assistant U.S. Attorney
                                                      P.O. Box 607
                                                      Albuquerque, NM 87103
                                                      (505) 346-7274




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                                 28   u.s.c. § 1746   DECLARATION



       I am a Special Agent with the Federal Bureau of Investigation     who has read the contents

of the Complaint for Forfeiture In Rem to which this Declaration    is attached; and the statements

contained in the complaint are true to the best of my knowledge and bel ief.

       I declare under penalty of perjury and the laws of the United States of America that this

Declaration is true and correct, except as to matters stated on information   and belief, and as to

those matters I believe them to be true.


       Dated:   jJ'd--Qd..       O
                                               Thomas C. Neale, Special Agent
                                               Federal Bureau ofInvestigation




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JS 44 (Rev. 12/12)                                         CIVIL1-1
                                     Case 1:20-cv-00715 Document COVER     SHEET Page 1 of 1
                                                                    Filed 07/17/20
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of
initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
  I. (a) PLAINTIFFS                                                                                    DEFENDANTS
                                                                                                          $26,100.00 U.S. C URRENCY , ET .AL .
    United States of America
                                                                                                           County of Residence of First Listed Defendant
     (b) County of Residence of First Listed Plaintiff                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                           NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

                                                                                                          Attorneys (If Known)
   (c) Attorneys (Firm Name, Address, and Telephone Number)
  II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                       and One Box for Defendant)
     1    U.S. Government              3   Federal Question                                                                    PTF       DEF                                         PTF       DEF
          Plaintiff                          (U.S. Government Not a Party)                      Citizen of This State            1         1    Incorporated or Principal Place          4        4
                                                                                                                                                    of Business In This State

    2     U.S. Government              4   Diversity                                            Citizen of Another State          2         2   Incorporated and Principal Place         5       5
           Defendant                       (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                               Citizen or Subject of a            3         3   Foreign Nation                           6       6
                                                                                                   Foreign Country


           CONTRACT                                    TORTS                                    FORFEITURE/PENALTY                        BANKRUPTCY                     OTHER STATUTES
    110 Insurance                PERSONAL INJURY             PERSONAL INJURY                     625 Drug Related Seizure             422 Appeal 28 USC 158           375 False Claims Act
    120 Marine                  310 Airplane                 365 Personal Injury -               of Property 21 USC 881               423 Withdrawal                  400 State Reapportionment
    130 Miller Act              315 Airplane Product             Product Liability                                                        28 USC 157                  410 Antitrust
    140 Negotiable Instrument        Liability               367 Health Care/                    690 Other                                                            430 Banks and Banking
    150 Recovery of Overpayment 320 Assault, Libel &            Pharmaceutical                                                                                        450 Commerce
        & Enforcement of Judgment    Slander                    Personal Injury                                                       PROPERTY RIGHTS                 460 Deportation
    151 Medicare Act            330 Federal Employers’          Product Liability                                                     820 Copyrights                  470 Racketeer Influenced and
    152 Recovery of Defaulted        Liability               368 Asbestos Personal                                                    830 Patent                          Corrupt Organizations
        Student Loans           340 Marine                       Injury Product                                                       840 Trademark                   480 Consumer Credit
        (Excludes Veterans)     345 Marine Product               Liability                                                                                            490 Cable/Sat TV
    153 Recovery of Overpayment      Liability             PERSONAL PROPERTY                              LABOR                       SOCIAL SECURITY
                                                                                                 710 Fair Labor Standards              861 HIA (1395ff)                850 Securities/Commodities/
        of Veteran’s Benefits   350 Motor Vehicle            370 Other Fraud                                                                                               Exchange
                                                                                                     Act                               862 Black Lung (923)
    160 Stockholders’ Suits     355 Motor Vehicle            371 Truth in Lending                                                                                     890 Other Statutory Actions
                                                                                                 720 Labor/Management                  863 DIWC/DIWW (405(g))
    190 Other Contract              Product Liability        380 Other Personal                                                                                       891 Agricultural Acts
                                                                                                     Relations                         864 SSID Title XVI
    195 Contract Product Liability
                                360 Other Personal              Property Damage                                                                                       893 Environmental Matters
                                                                                                 740 Railway Labor Act                 865 RSI (405(g))
    196 Franchise                   Injury                   385 Property Damage                                                                                      895 Freedom of Information
                                                                                                 751 Family and Medical
                                362 Personal Injury –           Product Liability                    Leave Act                                                             Act
                                    Medical Malpractice                                                                                                               896 Arbitration
                                                                                                  790 Other Labor Litigation
        REAL PROPERTY             CIVIL RIGHTS             PRISONER PETITIONS                                                         FEDERAL TAX SUITS               899 Administrative Procedure
                                                                                                 791 Employee Retirement
    210 Land Condemnation       440 Other Civil Rights       Habeas Corpus:                                                            870 Taxes (U.S.                    Act/Review or Appeal of
                                                                                                    Income Security Act
    220 Foreclosure             441 Voting                  463 Alien Detainee                                                            Plaintiff or                    Agency Decision
    230 Rent Lease & Ejectment  442 Employment              510 Motions to Vacate                                                         Defendant)                  950 Constitutionality of
    240 Torts to Land           443 Housing/                     Sentence                                                              871 IRS—Third Party                 State Statutes
    245 Tort Product Liability      Accommodations          530 General                                                                   26 USC 7609
                                                                                                     IMMIGRATION
    290 All Other Real Property 445 Amer. w/Disabilities -  535 Death Penalty
                                                                                                 462 Naturalization Application
                                    Employment              Other:                                465 Other Immigration
                                446 Amer. w/Disabilities -  540 Mandamus & Other
                                                                                                     Actions
                                    Other                   550 Civil Rights
                                448 Education               555 Prison Condition
                                                            560 Civil Detainee -
                                                                Conditions of
                                                                C fi         t
                IV. NATURE OF SUIT (Place an “X” in One Box Only)
                V. ORIGIN (Place an “X” in One Box Only)
         1 Original         2 Removed from                   3   Remanded from             4 Reinstated or          5 Transferred from             6 Multidistrict
            Proceeding        State Court                        Appellate Court             Reopened                 Another District               Litigation
                                                                                                                     (specify)
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                      18 U.S.C. § 981(a)(1)(A) pand 21 U.S.C. § 881(a)(6)
 VI. CAUSE OF ACTION                  Brief description of cause:


 VII. REQUESTED IN                          CHECK IF THIS IS A CLASS ACTION                      DEMAND $                                   CHECK YES only if demanded in complaint:


      COMPLAINT:                            UNDER RULE 23, F.R.Cv.P.                                                                        JURY DEMAND:                Yes         No
 VIII. RELATED CASE(S)
                                           (See instructions):
       IF ANY                                                     JUDGE                                                           DOCKET NUMBER
 DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD


 _7/16/2020
 FOR OFFICE USE ONLY
   RECEIPT #                   AMOUNT                                     APPLYING IFP                              JUDGE                              MAG. JUDGE
